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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

             In re:                                                Chapter 11

             Desolation Holdings LLC, et al., 1                    Case No. 23-10597 (BLS)

                      Wind Down Entity.                            (Jointly Administered)




              DECLARATION OF DAVID MARIA IN SUPPORT OF PLAN ADMINISTRATOR’S
             OBJECTION TO CLAIM C598-10230 FILED BY AMBER SINCLAIR PURSUANT TO
               SECTION 502 OF THE BANKRUPTCY CODE AND BANKRUPTCY RULE 3007


                      I, David Maria, the Plan Administrator of the Wind Down Entity, pursuant to 28 U.S.C. §

         1746, hereby declare under penalty of perjury that the following is true and correct to the best of

         my knowledge, information, and belief:

                      1.     I am the Plan Administrator of the Wind Down Entity as of the Effective Date. I

         have served as the General Counsel and Chief Legal Officer for Bittrex, Inc. (“BUS”) since

         December 2022 and previously as BUS’s Head of Litigation and Regulatory Affairs since May

         2021.

                      2.     In my capacity as the Plan Administrator, I am generally familiar with the Debtors’

         day-to-day operations, business, financial affairs, and ongoing restructuring efforts. Accordingly,

         I am in all respect competent to make this declaration (the “Declaration”).

                      3.     I submit this Declaration in support of the Plan Administrator’s Objection to Claim

         C598-10230 Filed by Amber Sinclair Pursuant to Section 502 of the Bankruptcy Code and




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             The Debtors in these chapter 11 cases, along with the last four digits of each Debtor entity’s tax identification
         number, are: Desolation Holdings LLC (0439); Bittrex, Inc. (0908); Bittrex Malta Holdings Ltd. (2227); and Bittrex
         Malta Ltd. (1764). The mailing and service address of the Debtors is 701 5th Avenue, Suite 4200, Seattle, WA 98104.


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         Bankruptcy Rule 3007 (the “Objection”), 2 dated as of the date hereof and filed contemporaneously

         herewith.

                 4.       I am over the age of eighteen and I am authorized by the Wind Down Entity to

         submit this Declaration. All statements in this Declaration are based upon my personal knowledge,

         my review (or the review of others under my supervision) of (i) business books and records kept

         by the Debtors in the ordinary course of business; (ii) the relevant proof of claim; (iii) the

         Schedules; and/or (iv) the official register of claims filed in these chapter 11 cases. If called as a

         witness, I could and would competently testify to the facts set forth in this Declaration.

                 5.       The Claim was carefully reviewed and analyzed in good faith using due diligence

         by myself, appropriate personnel of the Wind Down Entity, Berkeley Research Group, LLC, Quinn

         Emanuel Urquhart & Sullivan LLP, and Young Conaway Stargatt & Taylor, LLP.

                 6.       A true and correct copy of BUS’ current terms of service are attached hereto as

         Exhibit A.

                 7.       Ms. Sinclair created an account with Bittrex, Inc. (“BUS”) on April 16, 2021. She

         most recently accepted the BUS terms of service on August 18, 2023. The account remains in good

         standing.

                 8.       As of the Petition Date, Ms. Sinclair’s BUS account held: (i) 0.03452386 BTC; and

         (ii) 1353.21477348 DOGE. As of the Petition Date, the total value of Ms. Sinclair’s holdings was

         $1,057.35.

                 Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

         statements are true and correct to the best of my knowledge, information, and belief.




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             Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Objection.
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         Dated: December 29, 2023

                                                                    /s/ David Maria
                                                                    David Maria




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                        Exhibit A

             Terms of Service of Bittrex, Inc.
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